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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


    SCOTT WYNN, an individual,

                 Plaintiff,

    v.                                          Case No. 3:21-cv-514-MMH-LLL

    THOMAS J. VILSACK, in his
    official capacity as U.S. Secretary of
    Agriculture and ZACH
    DUCHENEAUX, in his official
    capacity as Administrator, Farm
    Service Agency,

                 Defendants.


                                        ORDER

          THIS CAUSE is before the Court on Defendants’ Motion to Stay

    Proceedings Pending Resolution of Related Class Action (Doc. 44; Motion), filed

    on July 12, 2021. Plaintiff filed a response in opposition to the Motion on July

    26, 2021. See Plaintiff’s Opposition to Defendants’ Motion to Stay Proceedings

    (Doc. 49; Response). On August 30, 2021, Defendants filed a reply in support

    of the Motion, and Plaintiff filed a surreply on September 7, 2021.         See

    Defendants’ Reply in Support of Motion to Stay Proceedings (Doc. 59; Reply);

    Plaintiff’s Surreply in Response to Motion to Stay Proceedings (Doc. 61;

    Surreply).   Plaintiff and Defendants have also filed a number of notices of
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    supplemental authority (Docs. 47, 53-55, 60, 62-63, 66, 72, 73, 75) regarding the

    issues presented in the Motion. Upon review and for the reasons set forth

    below, the Court finds that the Motion is due to be granted.

          I.        Background

          On May 18, 2021, Plaintiff Scott Wynn initiated this action challenging

    the constitutionality of section 1005 of the American Rescue Plan Act of 2021.

    See Complaint (Doc. 1). According to Defendants, this case is one of twelve

    such cases pending in district courts across the country. See Motion at 3-4

    (listing cases).   Wynn appears to have been the third plaintiff to file suit,

    behind Miller v. Vilsack, Case No. 4:21-cv-595 (N.D. Tex. filed Apr. 26, 2021)

    and Faust v. Vilsack, Case No. 1:21-cv-548 (E.D. Wis. filed Apr. 29, 2021). On

    May 25, 2021, Wynn moved for a preliminary injunction and after substantial

    briefing and a hearing, the Court granted the motion on June 23, 2021,

    enjoining Defendants from issuing any payments, loan assistance, or debt relief

    pursuant to section 1005(a)(2). See Order (Doc. 41). Although the Faust court

    had previously entered a temporary restraining order, see Faust, No. 1:21-cv-

    548, ECF No. 21 (E.D. Wis. entered June 10, 2021), this Court was the first to

    enter a preliminary injunction regarding section 1005. Significantly, following

    this Court’s Order, the Miller court also issued an injunction and further,

    certified   a    nationwide   class   action   on   the   claims   challenging   the

    constitutionality of section 1005. See Miller, No. 4:21-cv-595-O, ECF. No. 60




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    at 23-24 (N.D. Tex. entered July 1, 2021). On September 3, 2021, Wynn, with

    others, filed a motion requesting that the Miller court allow him to opt out of

    the certified class or alternatively, that it amend the class certification order to

    exclude Wynn. See Miller, Case No. 4:21-cv-595, ECF No. 78 (N.D. Tex. filed

    Sept. 3, 2021) (Motion to Opt Out of Certified Classes or, in the Alternative, to

    Amend Class Certification Order). The Miller court denied this request in an

    order entered October 13, 2021. Id., ECF No. 100 (N.D. Tex. entered Oct. 13,

    2021). Thus, it is undisputed that, at this time, Wynn remains a member of

    the certified class in Miller.

          In the instant Motion, Defendants assert that “continued adjudication of

    Plaintiff’s claim in this Court, separate from the class to which he belongs,

    would be unnecessarily duplicative and risk inconsistent results.” See Motion

    at 2. In addition, Defendants maintain that because the proceedings in this

    case and Miller are just commencing, a stay will not prejudice Plaintiff who will

    “be bound by and benefit from any final judgment applicable to the classes.”

    Id.   Defendants further contend that a stay is warranted because it will

    preserve judicial resources and prevent hardship to Defendants. Id. at 2-3. In

    the Response, Plaintiff asserts that the request should be denied because

    Defendants seek an “immoderate” stay with “no defined end date.”                See

    Response at 2. Plaintiff contends that a stay will deprive him of his “ability to

    press his claims with his chosen counsel in this Court.” Id. Plaintiff further




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    maintains that Defendants fail to show that they will suffer undue hardship if

    required to proceed with this case because Defendants have already expended

    substantial resources on this case and the parties do not expect significant

    discovery. Id. at 14-15. Likewise, Plaintiff asserts that a stay will not further

    judicial economy given the substantial time and effort already invested in this

    action as a result of the preliminary injunction proceedings.        Plaintiff also

    maintains that the appellate courts would benefit from allowing the significant

    issues raised in these related actions to percolate through the federal courts.

    Id. at 15-18.

          II.   Discussion

          When parties have instituted competing or parallel litigation in separate

    courts, courts apply the “first-filed rule” which provides that “the court initially

    seized of the controversy should hear the case.” Collegiate Licensing Co. v. Am.

    Cas. Co. of Reading, Pa., 713 F.3d 71, 78 (11th Cir. 2013) (citing Merrill Lynch,

    Pierce, Fenner & Smith, Inc. v. Haydu, 675 F.2d 1169, 1174 (11th Cir. 1982)).

    Indeed, “‘[w]here two actions involving overlapping issues and parties are

    pending in two federal courts, there is a strong presumption across the federal

    circuits that favors the forum of the first-filed suit under the first-filed rule.’”

    Id. (quoting Manuel v. Convergys Corp., 430 F.3d 1132, 1135 (11th Cir. 2005)).

    “The primary purpose of the rule is to conserve judicial resources and avoid

    conflicting rulings.” Allstate Ins. Co. v. Clohessy, 9 F. Supp. 2d 1314, 1316




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    (M.D. Fla. 1998). The party objecting to jurisdiction in the first-filed forum

    bears the “burden of proving ‘compelling circumstances’ to warrant an exception

    to the first-filed rule.” Manuel, 430 F.3d at 1135; see also Merrill Lynch, 675

    F.2d at 1174 (“In [the] absence of compelling circumstances, the court initially

    seized of a controversy should be the one to decide the case.”).

          Significantly, “[t]he Court has ‘broad discretion in determining whether

    to stay or dismiss litigation in order to avoid duplicating a proceeding already

    pending in another federal court.’” Navisiontech, Inc. v. Pet Specialties, LLC,

    No. 8:18-cv-2643-MSS-JSS, 2019 WL 13020776, at *2 (M.D. Fla. July 8, 2019)

    (quoting Glover v. Philip Morris USA, 380 F. Supp. 2d 1279, 1285 (M.D. Fla.

    2005)).   Nevertheless, “‘[c]ourts applying this rule generally agree that the

    court in which an action is first filed is the appropriate court to determine

    whether subsequently filed cases involving substantially similar issues should

    proceed.’” See id. (quoting Martin v. Akers Bioscience, Inc., No. 8:14-CV-2835-

    T-33TGW, 2014 WL 7225412, at *3 (M.D. Fla. Dec. 17, 2014)). Indeed, “[t]he

    first-filed rule not only determines which court may decide the merits of

    substantially similar cases, but also generally establishes which court may

    decide whether the second filed suit must be dismissed, stayed, or transferred




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    and consolidated.” See Collegiate Licensing Co., 713 F.3d at 78 (citing Mann

    Mfg., Inc. v. Hortex, Inc., 439 F.2d 403, 408 (5th Cir. 1971)).1

          The Miller class action and this case involve substantially overlapping

    issues, namely, whether section 1005 of the American Rescue Plan Act is

    unconstitutional. Although there are slight distinctions in the ancillary claims

    raised in each action, the central issue and character of each suit is the same.

    See Collegiate Licensing, 713 F.3d at 79 (“A first-filed analysis looks to the

    character of the suits . . . .”). Notably, complete identity of the issues is not

    required for the first-filed rule to apply. See MRB Acquisition Corp. v. Scooter

    Store, Inc., No. 6:09-cv-346-Orl-18KRS, 2009 WL 10670891, at *2 (M.D. Fla.

    Aug. 10, 2009) (“The first-filed rule requires only overlapping issues; it does not

    require identical issues.”). Moreover, at present, Wynn is a member of the

    class certified by the court in the Miller case such that he will be bound by any

    final judgment entered in that case. See Juris v. Inamed Corp., 685 F.3d 1294,

    1312 (11th Cir. 2012) (“Class action judgments will typically bind all members

    of the class.”); see also Devlin v. Scardelletti, 536 U.S. 1, 10-11 (2002)

    (explaining that nonnamed class members were “parties to the proceedings in

    the sense of being bound by the settlement”). In addition, the cases share an



          1 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
    Eleventh Circuit adopted as binding precedent all the decisions of the former Fifth Circuit
    handed down prior to the close of business on September 30, 1981.




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    overlapping Defendant—Tom Vilsack, in his official capacity as the Secretary

    of Agriculture. As such, the Court finds that the parties substantially overlap

    in these two cases as well. Thus, a straightforward application of the first-filed

    rule would appear to support entry of a stay in this case.

          The Court acknowledges that this case presents an unusual application

    of the first-filed rule because the parallel case here is a class action of which

    Wynn is merely a member.        However, “‘[m]ultiple courts of appeal[]’ have

    approved the practice of staying a case, or dismissing it without prejudice, ‘on

    the ground that the plaintiff is a member of a parallel class action.’”       See

    Richard K. v. United Behavioral Health, No. 18-CV-6318 (GHW) (BCM), 2019

    WL 3083019, at *7 (S.D.N.Y. June 28, 2019) (quoting Jiaming Hu v. U.S. Dep’t

    of Homeland Sec., Case No. 4:17-cv-02363-AGF, 2018 WL 1251911, at *4 (E.D.

    Mo. Mar. 12, 2018) (collecting cases)) adopted by 2019 WL 3080849, at *1

    (S.D.N.Y. July 15, 2019); see also Baatz v. Columbia Gas Transmission, LLC,

    814 F.3d 785, 790-91, 795 (6th Cir. 2016); Mackey v. Bd. of Educ. for Arlington

    Cent. Sch. Dist., 112 F. App’x 89, 91 (2d Cir. 2004) (affirming dismissal because

    plaintiffs’ “allegations against the State duplicated claims that had been

    included in separate class actions against the State, and the [plaintiffs] were

    members of those classes”). As aptly explained by the Eighth Circuit Court of

    Appeals in Goff v. Menke, 672 F.2d 702 (8th Cir. 1982):




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           After rendition of a final judgment, a class member is ordinarily
           bound by the result of a class action. . . . If a class member cannot
           relitigate issues raised in a class action after it has been resolved,
           a class member should not be able to prosecute a separate
           equitable action once his or her class has been certified.

    See Goff, 672 F.2d at 704. Wynn attempts to distinguish this line of authority

    by arguing that he has moved more promptly than the individual plaintiffs in

    those cases, but even so, the salient facts remain the same: Wynn is a member

    of a certified class, the class action was filed before Wynn’s case, the issues are

    substantially the same, and Wynn will be bound by any judgment entered in

    the class action.2

           In his Response, Wynn also maintains that the Court should decline to

    apply the first-filed rule based on equitable concerns. See id. Specifically,

    Wynn contends that the first-filed rule should not apply to this action because,

    although Miller is chronologically the first-filed case, the plaintiff in Miller

    lacked standing at the time the suit was initiated. Id.3 Wynn also maintains


           2  The Court is not persuaded by Wynn’s argument that “[t]here is no risk of
    inconsistent judgments” because res judicata principles will govern. See Surreply at 2.
    Wynn recognizes that if this Court enters judgment first then “a subsequent judgment in
    Miller would not bind Mr. Wynn,” but if the Miller court rules first then Wynn “would likely
    be bound to the judgment in Miller . . . .” Id. Wynn’s argument presupposes that absent a
    stay, this Court will necessarily be the first to enter judgment. But such an outcome is far
    from certain and if the Miller court rules first, then the time, effort, and resources expended
    in this action would largely be for naught. Thus, litigating this case while Wynn remains a
    member of the Miller class will require this Court to rush to judgment, not based on the
    expediencies of the case, but to avoid claim and issue preclusion. This Court declines Wynn’s
    invitation to enter a race to judgment with the Miller court in an attempt to avoid preclusion.

           3 Whether the original Miller plaintiff had standing when the suit was filed is a legal
    question that was not raised or adjudicated in the Miller action. And while Wynn argues that




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    that he will suffer prejudice by being forced to litigate his claims through the

    class action.       Id. at 10-13.         However, in light of the Miller court’s

    determination that Wynn should remain a member of the class, the Court is not

    persuaded that Wynn’s arguments warrant an exception to the first-filed rule

    here.4 Indeed, the courts in nearly all of the related cases have rejected similar

    arguments and found it appropriate to grant a stay. See Dunlap v. Vilsack,

    No. 2:21-cv-942-SU, ECF No. 42 (D. Or. Sept. 21, 2021); Tiegs v. Vilsack, No.

    3:21-cv-147, ECF No. 20 (N.D. Sept. 7, 2021); McKinney v. Vilsack, No. 2:21-

    00212-RWS, ECF No. 40 (E.D. Tex. Aug 30, 2021); Faust v. Vilsack, No. 21-C-

    548, ECF No. 66 (E.D. Wisc. Aug. 20, 2021); Joyner v. Vilsack, No. 21-1089-

    STA-jay, ECF No. 21 (W.D. Tenn. Aug. 19, 2021); Carpenter v. Vilsack, No. 21-

    CV-103, ECF No. 33 (D. Wyo. Aug. 16, 2021); cf. Kent v. Vilsak, No. 3:21-cv-




    the Court “should not reward such tactics,” see Surreply at 9, he fails to acknowledge that this
    “tactic,” to the extent that it is one, was not entirely Defendants’ doing.

           4 The Court acknowledges that in its order denying Wynn’s opt-out request, the Miller
    court appears to suggest that a stay may not be appropriate in all the individual cases and
    points to Holman v. Vilsack where the court denied the government’s request for a stay in part
    because “the interests of the Miller plaintiffs are not completely aligned with [Holman’s]
    interests . . . .” See Holman, No. 1:21-cv-1085-STA-jay, 2021 WL 3354169, at *2 (W.D. Tenn.
    Aug. 2, 2021). However, unlike the plaintiff in Holman, Wynn has not shown that his
    interests are in actual conflict with those of the Miller class. Indeed, he concedes that they
    seek similar remedies. See Surreply at 6. Moreover, even the Holman court has now, at
    least temporarily, stayed discovery and case deadlines. Specifically, on October 22, 2021, the
    Holman court entered an order staying the matter pending resolution of the government’s
    motion to dismiss regarding the two claims in that case that are distinct from the class action.
    See Holman, No. 1:21-cv-1085-STA-jay, ECF No. 59 (W.D. Tenn. entered Oct. 22, 2021) (Order
    Partially Granting Defendants’ Motion for Reconsideration). Thus, neither the Miller court’s
    recent decision nor the Holman case support the entry of a stay in this matter.




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     540-NJR, ECF No. 26 (S.D. Ill. Nov. 10, 2021); Holman v. Vilsack, No. 21-cv-

     01085-STA-jay, 2021 WL 3354169 (W.D. Tenn. Aug. 2, 2021). The undersigned

     does not find it necessary to re-plow the same ground already addressed in those

     decisions. Given the substantial overlap between this case and the Miller class

     action, the Court finds that in the interests of comity and judicial economy and

     to avoid conflicting judgments as to Wynn, this action should be stayed pending

     the outcome of the class action in Miller, the first-filed suit. Accordingly, for

     the reasons set forth above and addressed in the related cases, the Court will

     exercise its discretion to grant the Motion and stay these proceedings. Wynn

     may move to lift the stay upon entry of final judgment in the Miller class action

     or if Wynn is successful in convincing the Miller court that he should be removed

     from the class.5 In light of the foregoing, it is

            ORDERED:




            5  Because Wynn is a member of the certified class in Miller, the Court finds that this
     case is governed by the first-filed rule which applies when parallel cases are pending in the
     federal courts. As such, Wynn’s reliance on Eleventh Circuit precedent prohibiting
     “immoderate” stays where the subject cases are not both pending in federal court or do not
     involve overlapping issues and parties, is inapposite. Cf. Ortega Trujillo v. Conover & Co.
     Comm’ns, Inc., 221 F.3d 1262, 1264 (11th Cir. 2000) (discussing an “immoderate” stay pending
     the outcome of litigation in the Bahamas); see also Landis v. N. Am. Co., 299 U.S. 248, 253-55
     (1936) (addressing the power to grant a stay where the parties were not the same); Garmendiz
     v. Capio Partners, LLC, No. 8:17-cv-987-EAK-AAS, 2017 WL 3208621, at *2-3 (M.D. Fla. July
     26, 2017) (denying defendant’s request for a stay pending outcome of an appeal concerning a
     related issue but not the same parties). Nevertheless, the stay in this case is not immoderate
     because it is subject to reasonable limits—Wynn may move to lift the stay upon entry of a final
     judgment in Miller or if at any point he is no longer a member of the Miller class.




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           1. Defendants’ Motion to Stay Proceedings Pending Resolution of Related

              Class Action (Doc. 44) is GRANTED.

           2. This case is STAYED pending resolution of the class action claims of

              which Plaintiff Scott Wynn is a member in Miller v. Vilsack, Case No.

              4:21-cv-595 (N.D. Tex. filed Apr. 26, 2021).

           3. Plaintiff may move to lift the stay upon entry of final judgment in the

              Miller class action or if Wynn is removed from the class.

           4. Defendants shall file a status report with this Court on January 7,

              2022, and every 120 days thereafter, advising the Court of the status

              of the Miller proceedings.

           5. The Clerk of the Court is directed to terminate any pending motions

              and administratively close the case.

           DONE AND ORDERED in Jacksonville, Florida this 7th day of

     December, 2021.




     lc11
     Copies to:

     Counsel of Record
     Pro Se Parties




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